           Case 5:03-cr-00243-NAM                 Document 781           Filed 05/22/08          Page 1 of 7




    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    _______________________________________________

    WALIEK BETTS,

                                        Petitioner,                                5:05-CV-1434
              vs.                                                                       (NAM)
                                                                               Related Criminal Action
    UNITED STATES OF AMERICA,                                                        03-CR-0243

                            Respondent.
    _______________________________________________
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    APPEARANCES                                                    OF COUNSEL:

    Waliek Betts
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    United States Penitentiary
    P.O. Box 12015
    Terre Haute, IN 47801
    Petitioner, Pro Se
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    Attorney for Respondent

    NORMAN A. MORDUE, Chief U.S. District Judge

                                  MEMORANDUM-DECISION AND ORDER
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    I.       BACKGROUND1

             The record reflects that on June 19, 2003, following a criminal investigation conducted by

    law enforcement agents which sought to curtail illegal drug sales in the Syracuse, New York area,

    petitioner pro se Waliek Betts and numerous other individuals were indicted by a federal grand

    jury sitting in the Northern District of New York. See 03-CR-0243, Dkt. No. 1. That accusatory

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                     The background information contained in this Memorandum-Decision and Order is derived from the
         documents filed in the present civil action, Betts v. United States, 5:05-CV-1434 (“05-CV-1434"), as well as the
         file of the related criminal matter, United States v. Edwards et al., 5:03-CR-0243 (N.D.N.Y.) (“03-CR-0243").
          Case 5:03-cr-00243-NAM          Document 781         Filed 05/22/08     Page 2 of 7




    body subsequently returned a Superceding Indictment against Betts and others. See 03-CR-0243,

    Dkt. No. 69 (“Superceding Indictment”). In that instrument, Betts was charged with conspiring to

    violate 18 U.S.C. § 1962, the Racketeer Influenced and Corrupt Organization Act (“RICO”),

    through his membership in a criminal enterprise that involved himself and numerous other

    individuals. See Superceding Indictment, Count One. Betts was also charged in that indictment

    with possessing with intent to distribute and distributing marijuana, in violation of 21 U.S.C. §§

    841(a)(1), 846. Superceding Indictment, Count Two.
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           On March 3, 2004, following negotiations between Betts’s retained counsel, Linda Stock,

    Esq. and United States Attorney John Katko (“AUSA Katko”), the parties filed a plea agreement

    with the Court in which Betts agreed to plead guilty to the first count in the Superceding

    Indictment, which charged him with violating 18 U.S.C. § 1962(d), in satisfaction of the charges

    brought against him in that accusatory instrument. See 03-CR-0243, Dkt. No. 286 (copy of
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    Betts’s plea agreement with Government) (hereinafter “Plea Agreement”). In that agreement,

    Betts also agreed to waive his right to appeal, or collaterally attack through a Motion to Vacate

    brought pursuant to 28 U.S.C. § 2255, his judgment of conviction as well as any sentence of

    imprisonment of 235 months or less. See id. at ¶ 11.

           At the proceeding over which this Court presided wherein Betts formally entered his
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    change of plea, he admitted that he had engaged in the conduct alleged in the first count of the

    Superceding Indictment. See Transcript of Change of Plea (3/3/04) (03-CR-0243, Dkt. No. 642)

    (“Plea Tr.”) at pp. 6-7. AUSA Katko then discussed in detail the factual and legal bases for the

    charges brought against Betts (see Plea Tr. at pp. 12-14), who thereafter agreed with the accuracy

    of the prosecutor’s statements regarding Betts’s participation in the criminal enterprise. Plea Tr.


                                                     2
          Case 5:03-cr-00243-NAM           Document 781        Filed 05/22/08      Page 3 of 7




    at p. 14. An extensive colloquy was then placed on the record during which Betts: i) admitted

    that his attorney had discussed with him the Superceding Indictment; ii) acknowledged that he

    was freely pleading guilty freely to the RICO conspiracy charge; iii) was made aware of the

    evidence which the Government possessed against him that would be utilized by the prosecutor at

    trial; iv) admitted that he was responsible for between 150 and 500 grams of cocaine base, and 40

    to 60 kilograms of marijuana, related to the conspiracy; and v) acknowledged that he was aware

    that if he was sentenced to a term of imprisonment of 235 months or less that he could not appeal
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    or collaterally attack his sentence. See id. at pp. 14-17. This Court thereafter concluded that

    Betts was voluntarily pleading guilty to the charge, that he was competent to enter the plea, and

    that he understood the nature of the charge against him and the consequences of his guilty plea.

    Id. at p. 20. This Court therefore accepted Betts’s guilty plea. Id. at pp. 20-21.

           On November 19, 2004, Betts appeared before this Court for sentencing. See Transcript
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    of Sentencing (11/19/04) (03-CR-0243, Dkt. No. 643) (“Sentencing Tr.”). At that proceeding,

    this Court noted that the total offense level applicable to Betts was 33 and that his criminal history

    category was level VI. Id. at p. 7. Consequently, the Court noted that he was subject to a range

    of imprisonment under the United States Sentencing Guidelines of between 235 and 293 months.

    Id. After concluding that Betts’s criminal history score substantially overrepresented the
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    seriousness of that history, this Court made a downward departure pursuant to United States

    Sentencing Guidelines § 4A1.3(b)(1), and ultimately sentenced Betts to a term of imprisonment

    of 210 months. Id. at p. 8. A judgment reflecting that sentence was thereafter entered by the




                                                      3
             Case 5:03-cr-00243-NAM                    Document 781           Filed 05/22/08         Page 4 of 7




    Clerk of the Court in the related criminal matter. 03-CR-0243, Dkt. No. 505.2 Betts did not file

    any appeal relating to his conviction or sentence.

               On November 16, 2005, Betts filed his Motion to Vacate, Set Aside or Correct his

    sentence pursuant to 28 U.S.C. § 2255. See 05-CV-1434, Dkt. No. 1 (“Motion to Vacate”). In his

    application, Betts asserts several different theories in support of his claim that his trial counsel

    rendered ineffective assistance. See Motion to Vacate, Grounds One through Four.

               The Government filed a memorandum of law in opposition to Betts’s Motion to Vacate on
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    February 9, 2006. 05-CV-1434, Dkt. No. 7 (“Resp. Mem.”). Petitioner thereafter filed a

    “Traverse” in further support of the present motion. 05-CV-1434, Dkt. No. 10 (“Traverse”).

    II.        DISCUSSION

               The Court initially considers Betts’s claim that his attorney wrongfully failed to file a

    notice of appeal despite his timely request that he do so. Motion to Vacate, Ground Four.3
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               Respondent claims that Betts “provides no sworn statements to support this completely

    self-serving statement. Moreover, it is in contradiction with the plea agreement and the record at

    both the plea and sentencing hearings....” See Resp. Mem. at p. 19.

               In Campusano v. United States, 442 F.3d 770 (2d Cir. 2006), the Second Circuit

    specifically addressed the issue of whether an attorney may be found to have rendered ineffective
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    assistance by failing to file a notice of appeal despite the fact that the defendant expressly waived

    his right to pursue an appeal through a plea agreement. In that case, the Second Circuit noted that


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                     That sentence was recently reduced by this Court to 168 months imprisonment due to a reduction in
          the guideline sentencing range adopted and made retroactive by the United States Sentencing Commission. See
          03-CR-0243, Dkt. No. 767.
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                         Petitioner signed his Motion to Vacate under penalty of perjury before a notary. See Motion to Vacate
          at p. 7.

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          Case 5:03-cr-00243-NAM                 Document 781             Filed 05/22/08          Page 5 of 7




    although waivers of appeal are generally enforceable, “important constitutional rights require

    some exceptions to the presumptive enforceability of a waiver.” Campusano, 442 F.3d at 774

    (citation omitted). Because the Second Circuit “take[s] very seriously the need to make sure that

    defendants are not unfairly deprived of the opportunity to appeal, even after a waiver appears to

    bar appeal,” Campusano, 442 F.3d at 775 (citation omitted), the Campusano court determined

    that when a district court is confronted with a claim by a habeas petitioner that his trial attorney

    wrongfully failed to file a notice of appeal despite the petitioner’s explicit instructions to pursue
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    that course of conduct, “the district court is ... to determine whether [petitioner] in fact instructed

    his attorney to file an appeal. If [petitioner] did give such an instruction, he is to be allowed a

    direct appeal.” Campusano, 442 F.3d at 777.4

           Turning to the facts of the case sub judice, Betts plainly alleges, under oath, that his

    attorney failed to comply with his directive to file a notice of appeal. See Motion to Vacate,
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    Ground Four. Respondent has not provided an affidavit from Betts’s counsel or any other

    evidence that refutes this claim. Nor has it cited the Campusano case in its responsive papers or

    otherwise explained why that court’s holding is not dispositive of the claim raised in Betts’s

    fourth ground for relief.

           In Mena v. United States, No. 04 CIV. 6523, 2004 WL 2734454 (S.D.N.Y. Nov. 30,
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    2004), the court was confronted with a § 2255 petition filed by a petitioner who claimed, inter

    alia, that his attorney wrongfully failed to file an appeal in the criminal case that related to the



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                  Where an attorney believes his client's appeal would be frivolous, he is typically required to file a brief
       in compliance with Anders v. California, 386 U.S. 738 (1967). Anders requires counsel to submit an appellate
       brief to the appellate court and to the defendant in which counsel may request permission to withdraw as counsel
       but in which counsel also refers the appellate court to “anything in the record that might arguably support the
       appeal." Id. at 744; see also Campusano, 442 F.3d at 774.

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          Case 5:03-cr-00243-NAM          Document 781         Filed 05/22/08     Page 6 of 7




    petitioner’s motion to vacate. Mena, 2004 WL 2734454, at *2. After opining that the petitioner

    was entitled to habeas intervention, the Mena court determined that the “interests of justice

    suggest that [the Court] vacate Mena's judgment ... and enter a new judgment as of today, with the

    identical sentence, from which petitioner may timely appeal.” Mena, 2004 WL 2734454, at *4;

    see also Hazoury v. United States, No. 3:07-CV-923, 2008 WL 691699, at *3-4 (D.Ct. Mar. 12,

    2008) (granting in part § 2255 application by vacating judgment in criminal case and re-entering

    identical judgment thereby affording petitioner opportunity to file a notice of appeal).
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           This Court finds the approach followed by the courts in Mena and Hazoury to be both fair

    and sensible regarding the manner in which to proceed with the present action. Therefore,

    because the uncontested evidence before the Court in this proceeding suggests that Betts’s

    counsel ignored a request by petitioner to timely file an appeal in the criminal matter below, this

    Court directs that the March 26, 2008 Amended Judgment in the related criminal action be
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    vacated, and that a new judgment be entered in such case as of today. The new criminal judgment

    shall contain the identical sentence and other conditions reflected in the December, 2004

    Judgment, as amended on March 26, 2008, from which petitioner may now timely appeal. Betts

    has ten days from the date of the entry of the new criminal judgment within which to file a notice

    of appeal in the related criminal action. See Fed. R.App. P. 4(b).
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           The Court declines to address the substance of the other claims asserted by Betts in his

    Motion to Vacate because his application, which was filed before the final judgment was entered

    in the criminal matter, is improperly filed. E.g., Mena, 2004 WL 2734454, at *4; Hazoury, 2008

    WL 691699, at *4.

           WHEREFORE, it is hereby


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          Case 5:03-cr-00243-NAM          Document 781        Filed 05/22/08      Page 7 of 7




            ORDERED that Betts’ Motion to Vacate is GRANTED IN PART. For the reasons

    stated above, the December 1, 2004 judgment in 03-CR-0243 (Dkt. No. 505), as amended on

    March 26, 2008 (03-CR-0243, Dkt. No. 767), is hereby VACATED, and it is further

            ORDERED that a new criminal judgment be entered in 03-CR-0243 forthwith which

    contains the identical sentence and other conditions reflected in the prior judgments issued in that

    action, and it is further

            ORDERED that the remaining grounds asserted by Betts in the present civil action are
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    DISMISSED WITHOUT PREJUDICE as premature, and it is further

            ORDERED that the Clerk of the Court serve a copy of this Memorandum-Decision and

    Order upon the parties by regular or electronic mail.

            IT IS SO ORDERED

            Date: May 22, 2008
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